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                             EXHIBIT E
Case 2:20-cv-13134-LVP-RSW ECF No. 105-6, PageID.4447 Filed 01/28/21 Page 2 of 5




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  TIMOTHY KING, MARIAN ELLEN
  SHERIDAN, JOHN EARL HAGGARD,
  CHARLES JAMES RITCHARD, JAMES
  DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
  RUBINGH,
                                               HON. LINDA V. PARKER
        Plaintiffs,
  v                                            MAG. R. STEVEN WHALEN

  GRETCHEN WHITMER, in her official             DECLARATION OF ERIK A.
  capacity as Governor of the State of            GRILL IN SUPPORT OF
  Michigan, JOCELYN BENSON, in her               DEFENDANTS WHITMER
  official capacity as Michigan Secretary of     AND BENSON’S MOTION
  State and the Michigan BOARD OF STATE          FOR SANCTIONS UNDER
  CANVASSERS,                                        28 U.S.C. § 1927

        Defendants,

  CITY OF DETROIT,

        Intervening Defendant,

  ROBERT DAVIS,

        Intervening Defendant,

  DEMOCRATIC NATIONAL
  COMMITTEE and MICHIGAN
  DEMOCRATIC PARTY,

       Intervening Defendant.
  ___________________________________


                        Declaration of Erik A. Grill Page 1
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   DELCARATION OF ERIK A. GRILL IN SUPPORT OF DEFENDANTS
    WHITMER AND BENSON’S MOTION FOR SANCTIONS UNDER
                       28 U.S.C. § 1927

    I, Assistant Attorney General Erik A. Grill, being duly sworn, voluntarily state

 as follows:

    1. I have been licensed to practice law in the State of Michigan since 2002.

    2. I primarily practice law in Ingham County, Michigan.

    3. I have worked for the State of Michigan since December 2002.

    4. During my more than 18 years of practice, I have worked in the Attorney
       General’s State Operations Division, the Public Employment, Elections and
       Tort Division, and the Civil Litigation, Employment and Elections Division.
       I have also worked for the General Counsel of the Department of Insurance
       and Financial Services.

    5. I am presently a Senior Attorney in the Civil Litigation, Elections &
       Employment Division. In this position, I have unique experience and
       substantial expertise in the field of election law, and I have frequently
       handled election cases in state and federal courts at both the trial court and
       appellate court levels.

    6. Collaborating with my Division Chief, Heather Meingast, I researched and
       drafted the various submissions filed by Defendants Whitmer, Benson, and
       the Board of State Canvassers in this matter, with each of us handling
       different issues and working on separate parts of the submissions.

    7. To the best of my recollection, the following chart accurately reflects the
       time I personally spent on various activities performed in defense of this
       matter:




                         Declaration of Erik A. Grill Page 2
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  Date              Activity                                           Hours
  11/27/20          Review Plaintiffs’ Complaint                       1.0

  11/29/20          Review Plaintiffs’ Amended Complaint and           1.0
                    exhibits
  11/30/20          Review Plaintiffs’ emergency motion for            1.0
                    declaratory judgment and injunctive relief
  12/2/20           Legal research on laches, standing, Eleventh       2.0
                    Amendment, Electors & Elections Clauses, Equal
                    Protection, and Due Process.
  12/2/20           Draft portions of Defendants’ response to          5.0
                    Plaintiffs’ emergency motion for declaratory and
                    injunctive relief
  12/2/20           Review and edit Brater Declaration in support of   0.5
                    Defendants’ Response to Plaintiffs’ emergency
                    motion for declaratory and injunctive relief
  12/2/20           Review and edit draft of Defendants’ Response to   0.5
                    Plaintiffs’ emergency motion for declaratory and
                    injunctive relief before filing
  12/2/20           Draft response to emergency motion to seal         0.5
  12/7/20           Review December 7, 2020, Opinion & Order           0.5
  12/22/20          Draft portions of Defendants’ motion to dismiss    2
                    and review; Review and edit draft before filing
  1/14/20           Review City of Detroit’s Motion for Sanctions      1.0
                    and draft Defendants’ concurrence with that
                    motion
  1/19/20           Review voluntary dismissal; Legal research on      0.25
                    federal rules for voluntary dismissal




                       Declaration of Erik A. Grill Page 3
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 Total Hours                             15.25
 Reasonable rate1                        $375/hr

 Total Attorney Fees/Costs                     $5,718.75


 I declare under penalty of perjury that the foregoing is true and correct.


 __________________________________                   Dated: January 28, 2021




 1
   Based on the State Bar of Michigan’s 2020 Economics of Law Practice in
 Michigan Survey, the median and mean billing rates for election law attorneys in
 the Lansing area is $300 and $395 respectively. See https://www.michbar.org
 /file/pmrc/articles/0000156.pdf. Given my years of experience, an hourly rate of
 $375 is reasonable in this matter.
                          Declaration of Erik A. Grill Page 4
